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 8                      UNITED STATES DISTRICT COURT
 9                    EASTERN DISTRICT OF CALIFORNIA
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11 UNITED STATES OF AMERICA,
                                           NO. CR. S-08-0093 FCD
12            Plaintiff,                       CR. S-08-0116 FCD
13      v.                                       ORDER
14 CHARLES HEAD,
15            Defendant.
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18      The court is in receipt of a motion filed by defendant
19 Charles Head in pro se on June 17, 2009. The defendant is
20 represented by counsel, Mr. Scott Tedmon, and may file motions
21 only through counsel.     Accordingly, the court refers the motion
22 to defendant’s counsel.
23      IT IS SO ORDERED.
24 DATED: June 24, 2009
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                                     FRANK C. DAMRELL, JR.
26                                   UNITED STATES DISTRICT JUDGE
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